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                             UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

   UNITED STATES OF AMERICA


                                                             Case No. 10-cr-81
   v.
                                                             ORDER ON MOTION FOR
                                                             SENTENCE REDUCTION UNDER
                                                             18 U.S.C. § 3582(c)(1)(A)
   TYRONE FIELDS /65168-066
                                                             (COMPASSIONATE RELEASE)




        Upon motion of Defendant Tyrone Fields for a reduction in sentence under 18 U.S.C. §

3582(c)(1)(A), and after considering the applicable factors provided in 18 U.S.C. § 3553(a) and the

applicable policy statements issued by the Sentencing Commission,

IT IS ORDERED that the motion is:

☒ GRANTED

  ☐ The defendant’s previously imposed sentence of imprisonment of ____, is reduced to ____.

  If this sentence is less than the amount of time the defendant already served, the sentence is

  reduced to a time served; or

  ☒ Time served. If the defendant’s sentence is reduced to time served:


          ☒ This order is stayed for up to fourteen days, for the verification of the defendant’s

          residence and/or establishment of a release plan, to make appropriate travel

          arrangements, and to ensure the defendant’s safe release. The defendant shall be

          released as soon as a residence is verified, a release plan is established, appropriate

          travel arrangements are made, and it is safe for the defendant to travel. There shall be

          no delay in ensuring travel arrangements are made. If more than fourteen days are
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needed to make appropriate travel arrangements and ensure the defendant’s safe release,

the parties shall immediately notify the court and show cause why the stay should be

extended; or

☐ There being a verified residence and an appropriate release plan in place, this order

is stayed for up to fourteen days to make appropriate travel arrangements and to ensure

the defendant’s safe release. The defendant shall be released as soon as appropriate

travel arrangements are made and it is safe for the defendant to travel. There shall be no

delay in ensuring travel arrangements are made. If more than fourteen days are needed

to make appropriate travel arrangements and ensure the defendant’s safe release, then

the parties shall immediately notify the court and show cause why the stay should be

extended.

☒ The defendant must provide the complete address where the defendant will reside

upon release to the probation office in the district where they will be released because it

was not included in the motion for sentence reduction.

☐ Under 18 U.S.C. § 3582(c)(1)(A), the defendant is ordered to serve a “special term”

of ☐ probation or ☐ supervised release of ____ months (not to exceed the unserved

portion of the original term of imprisonment).

       ☐ The defendant’s previously imposed conditions of supervised release apply

       to the “special term” of supervision; or

       ☐ The conditions of the “special term” of supervision are as follows:




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          ☒ The defendant’s previously imposed conditions of supervised release are unchanged.


          ☐ The defendant’s previously imposed conditions of supervised release are modified

          as follows:




☐ DEFERRED pending supplemental briefing and/or a hearing. The court DIRECTS the United

States Attorney to file a response on or before                          , along with all Bureau of

Prisons records (medical, institutional, administrative) relevant to this motion.

☐ DENIED after complete review of the motion on the merits.

   ☐ FACTORS CONSIDERED (Optional)




☐ DENIED WITHOUT PREJUDICE because the defendant has not exhausted all administrative

remedies as required in 18 U.S.C. § 3582(c)(1)(A), nor have 30 days lapsed since receipt of the

defendant’s request by the warden of the defendant’s facility.

   IT IS SO ORDERED.

   Dated: November 3, 2021                           /s/ Cynthia M. Rufe
                                                     UNITED STATES DISTRICT JUDGE

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